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                                                                              Document     Page 1 of 96
                                                  United States Bankruptcy Court
                                                          Northern District of Illinois                                                                            Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Giamalakis, George Aris                                                                                      Giamalakis, Debbie Lynn


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):
  AKA George A. Giamalakis                                                                                     AKA Debbie Giamalakis; FKA Debbie Lynn Lopez



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-0564                                                                                                  xxx-xx-3241
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  300 E. Hummingbird Lane                                                                                     300 E. Hummingbird Lane
  Lindenhurst, IL                                                                                             Lindenhurst, IL
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         60046                                                                                         60046
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Lake                                                                                                         Lake
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                  Case 13-47468                Doc 1         Filed 12/11/13 Entered 12/11/13 17:25:51                                         Desc Main
B1 (Official Form 1)(04/13)
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                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Giamalakis, George Aris
(This page must be completed and filed in every case)                                   Giamalakis, Debbie Lynn
                      All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                           Case Number:                         Date Filed:
Where Filed: Northern District of Illinois                          13-00920                              1/10/13
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                     Exhibit A                                                                                  Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ Nathan Volheim                                December 11, 2013
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Nathan Volheim

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                     (Name of landlord that obtained judgment)




                                     (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Giamalakis, George Aris
(This page must be completed and filed in every case)                                       Giamalakis, Debbie Lynn
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ George Aris Giamalakis                                                           X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor George Aris Giamalakis

 X    /s/ Debbie Lynn Giamalakis                                                               Printed Name of Foreign Representative
     Signature of Joint Debtor Debbie Lynn Giamalakis
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     December 11, 2013
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Nathan Volheim
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Nathan Volheim 6032103                                                                   debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Sulaiman Law Group, Ltd.
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      900 Jorie Boulevard
      Suite 150                                                                                Social-Security number (If the bankrutpcy petition preparer is not
      Oak Brook, IL 60523                                                                      an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                      Email: mbadwan@sulaimanlaw.com
      630-575-8181 Fax: 630-575-8188
     Telephone Number
     December 11, 2013
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
            George Aris Giamalakis
 In re      Debbie Lynn Giamalakis                                                                   Case No.
                                                                                  Debtor(s)          Chapter    7




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:         /s/ George Aris Giamalakis
                                                                                    George Aris Giamalakis
                                                       Date:         December 11, 2013




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B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
            George Aris Giamalakis
 In re      Debbie Lynn Giamalakis                                                                   Case No.
                                                                                  Debtor(s)          Chapter    7




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                               Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:        /s/ Debbie Lynn Giamalakis
                                                                                   Debbie Lynn Giamalakis
                                                       Date:         December 11, 2013




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B 6 Summary (Official Form 6 - Summary) (12/13)


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                                                               United States Bankruptcy Court
                                                                        Northern District of Illinois
  In re          George Aris Giamalakis,                                                                       Case No.
                 Debbie Lynn Giamalakis
                                                                                                         ,
                                                                                        Debtors                Chapter                    7




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED            NO. OF           ASSETS               LIABILITIES              OTHER
                                                         (YES/NO)           SHEETS

A - Real Property                                              Yes             1                  390,951.56


B - Personal Property                                          Yes             4                  105,074.70


C - Property Claimed as Exempt                                 Yes             1


D - Creditors Holding Secured Claims                           Yes             3                                         715,197.21


E - Creditors Holding Unsecured                                Yes             1                                               0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes             32                                        111,492.07
    Nonpriority Claims

G - Executory Contracts and                                    Yes             1
   Unexpired Leases

H - Codebtors                                                  Yes             1


I - Current Income of Individual                               Yes             2                                                                   5,417.03
    Debtor(s)

J - Current Expenditures of Individual                         Yes             2                                                                   6,668.84
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                     48


                                                                         Total Assets             496,026.26


                                                                                          Total Liabilities              826,689.28




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B 6 Summary (Official Form 6 - Summary) (12/13)


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                                                               United States Bankruptcy Court
                                                                        Northern District of Illinois
  In re           George Aris Giamalakis,                                                                             Case No.
                  Debbie Lynn Giamalakis
                                                                                                           ,
                                                                                        Debtors                       Chapter               7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                   Amount

              Domestic Support Obligations (from Schedule E)                                                       0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                   0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                   0.00

              Student Loan Obligations (from Schedule F)                                                           0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                   0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                   0.00

                                                                              TOTAL                                0.00


              State the following:

              Average Income (from Schedule I, Line 12)                                                        5,417.03

              Average Expenses (from Schedule J, Line 22)                                                      6,668.84

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                     10,502.10


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                   241,331.21

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                   0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                          0.00

              4. Total from Schedule F                                                                                             111,492.07

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         352,823.28




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                    Case 13-47468                     Doc 1            Filed 12/11/13 Entered 12/11/13 17:25:51                  Desc Main
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B6A (Official Form 6A) (12/07)


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  In re         George Aris Giamalakis,                                                                           Case No.
                Debbie Lynn Giamalakis
                                                                                                      ,
                                                                                        Debtors
                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                      Husband,    Current Value of
                                                                              Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                          Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                     Community Deducting  any Secured
                                                                                                                 Claim or Exemption

300 E. Hummingbird Lane                                                      Fee Simple                   J                  160,951.56               419,000.00
Lindenhurst, Illinois 60046
Single Family Dwelling
Purchased in February 1998 (Purchase Price
$192,000.00)
Value Per Zillow.com
PIN#: 06-01-114-007
33% Partial Interest with Mother
Debtors on title ONLY, Mother on Mortgage

292 Hickory Lane,                                                            Fee Simple                   J                   75,000.00               127,476.21
Antioch, Illinois 60002
Single Family Dwelling
Purchased in May 2007 (Purchase Price
$139,000.00)
Value Per Comps
PIN#: 02-05-406-049

7239 Mystic Brook                                                            Fee Simple                   J                  155,000.00               168,721.00
Davenport, Florida 33896
Single Family Dwelling
Purchased in May 2011 (Purchase Price
$164,000.00)
Value Per Comps




                                                                                                      Sub-Total >            390,951.56       (Total of this page)

                                                                                                              Total >        390,951.56
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                      (Report also on Summary of Schedules)
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
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B6B (Official Form 6B) (12/07)


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  In re         George Aris Giamalakis,                                                                              Case No.
                Debbie Lynn Giamalakis
                                                                                                         ,
                                                                                        Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                                 Husband,        Current Value of
                Type of Property                          O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                  Joint, or   without Deducting any
                                                          E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                        X

2.    Checking, savings or other financial                    Fifth Third Bank                                                  J                           200.00
      accounts, certificates of deposit, or                   Checking Account Ending with 8251
      shares in banks, savings and loan,
      thrift, building and loan, and                          Fifth Third Bank                                                  J                              0.71
      homestead associations, or credit                       Savings Account
      unions, brokerage houses, or
      cooperatives.                                           Great Lakes Credit Union                                          J                            22.00
                                                              Savings Account

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        Used Furniture, Household Goods and Appliances                    J                        2,158.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                           Personal Items                                                    J                           100.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Clothing                                                          J                           150.00

7.    Furs and jewelry.                                       Costume Jewelry, Watches                                          J                           200.00

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.

9.    Interests in insurance policies.                    X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.




                                                                                                                                Sub-Total >            2,830.71
                                                                                                                    (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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  In re         George Aris Giamalakis,                                                                              Case No.
                Debbie Lynn Giamalakis
                                                                                                         ,
                                                                                        Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                          N                                                                 Husband,        Current Value of
                Type of Property                          O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                  Joint, or   without Deducting any
                                                          E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                        401(K) through FedEx                                              H                      32,000.00
    other pension or profit sharing
    plans. Give particulars.                                  FedEx Corporation Employees Pension Plan (Not                     H                      16,456.99
                                                              Vested)

                                                              Pension through Employer (Not Vested)                             W                      20,000.00

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                        Outstanding Back Child Support                                    H                      10,000.00
    property settlements to which the
    debtor is or may be entitled. Give                        Outstanding Back Child Support                                    J                        9,000.00
    particulars.

18. Other liquidated debts owed to debtor                     Anticipated 2013 Tax Refund                                       J                        6,790.00
    including tax refunds. Give particulars.                  Per 2012 Tax Refund


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                                Sub-Total >          94,246.99
                                                                                                                    (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         George Aris Giamalakis,                                                                              Case No.
                Debbie Lynn Giamalakis
                                                                                                         ,
                                                                                         Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                          N                                                                 Husband,        Current Value of
                Type of Property                          O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                  Joint, or   without Deducting any
                                                          E                                                                Community Secured Claim or Exemption

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                           Illinois Drivers License                                          H                              0.00
    general intangibles. Give
    particulars.                                              Illinois Drivers License                                          W                              0.00

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        1994 BMW 530-i with 185,000 Miles                                 J                        2,798.00
    other vehicles and accessories.                           Value Per KBB, PPV

                                                              2000 BMW 740-i with 89,900 Miles                                  J                        5,139.00
                                                              Value Per KBB, PPV

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                            X

31. Animals.                                                  3 Dogs (Family Pets)                                              J                            60.00

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

                                                                                                                                Sub-Total >            7,997.00
                                                                                                                    (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re         George Aris Giamalakis,                                                                              Case No.
                Debbie Lynn Giamalakis
                                                                                                         ,
                                                                                        Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                          N                                                                 Husband,        Current Value of
                Type of Property                          O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                  Joint, or   without Deducting any
                                                          E                                                                Community Secured Claim or Exemption

35. Other personal property of any kind                   X
    not already listed. Itemize.




                                                                                                                                Sub-Total >                  0.00
                                                                                                                    (Total of this page)
                                                                                                                                     Total >       105,074.70
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                            (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/13)


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   In re         George Aris Giamalakis,                                                                                Case No.
                 Debbie Lynn Giamalakis
                                                                                                            ,
                                                                                         Debtors
                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                   Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                   $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                        with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                 Specify Law Providing                         Value of                 Current Value of
                   Description of Property                                          Each Exemption                             Claimed                  Property Without
                                                                                                                              Exemption               Deducting Exemption
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Fifth Third Bank                                  735 ILCS 5/12-1001(b)                                                                 200.00                            200.00
Checking Account Ending with 8251

Fifth Third Bank                                                           735 ILCS 5/12-1001(b)                                            0.71                             0.71
Savings Account

Great Lakes Credit Union                                                   735 ILCS 5/12-1001(b)                                          22.00                            22.00
Savings Account

Wearing Apparel
Clothing                                                                   735 ILCS 5/12-1001(a)                                          100%                            150.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
401(K) through FedEx                                735 ILCS 5/12-1006                                                                    100%                       32,000.00

FedEx Corporation Employees Pension Plan                                   735 ILCS 5/12-704                                              100%                       16,456.99
(Not Vested)

Pension through Employer (Not Vested)                                      735 ILCS 5/12-704                                              100%                       20,000.00

Alimony, Maintenance, Support, and Property Settlements
Outstanding Back Child Support                    735 ILCS 5/12-1001(g)(4)                                                                100%                       10,000.00

Outstanding Back Child Support                                             735 ILCS 5/12-1001(g)(4)                                       100%                         9,000.00

Other Liquidated Debts Owing Debtor Including Tax Refund
Anticipated 2013 Tax Refund                      735 ILCS 5/12-1001(b)                                                                4,979.29                         6,790.00
Per 2012 Tax Refund

Automobiles, Trucks, Trailers, and Other Vehicles
1994 BMW 530-i with 185,000 Miles                                          735 ILCS 5/12-1001(b)                                      2,798.00                         2,798.00
Value Per KBB, PPV

2000 BMW 740-i with 89,900 Miles                                           735 ILCS 5/12-1001(c)                                      4,800.00                         5,139.00
Value Per KBB, PPV




                                                                                                            Total:                 100,406.99                       102,556.70
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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   In re         George Aris Giamalakis,                                                                                        Case No.
                 Debbie Lynn Giamalakis
                                                                                                                   ,
                                                                                                  Debtors
                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                              O    N   I
                                                             D   H       DATE CLAIM WAS INCURRED,                           N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                              T    I   P       WITHOUT         UNSECURED
            INCLUDING ZIP CODE,                              B   W          NATURE OF LIEN, AND                             I    Q   U                       PORTION, IF
                                                             T   J         DESCRIPTION AND VALUE                            N    U   T
                                                                                                                                            DEDUCTING
           AND ACCOUNT NUMBER                                O                                                              G    I   E       VALUE OF           ANY
             (See instructions above.)
                                                                 C               OF PROPERTY
                                                             R
                                                                                SUBJECT TO LIEN
                                                                                                                            E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No.                                                        Assessment                                                    E
                                                                   7239 Mystic Brook                                             D

Ashebrook Homeowners Association                                   Davenport, Florida 33896
PO Box 105302                                                      Single Family Dwelling
                                                                   Purchased in May 2011 (Purchase Price
Atlanta, GA 30348
                                                                 J $164,000.00)
                                                                   Value Per Comps
                                                                        Value $                         155,000.00                                 0.00                    0.00
Account No. xx0018                                                 Assessment
                                                                   300 E. Hummingbird Lane
                                                                   Lindenhurst, Illinois 60046
Country Place Homeowners Assn.                                     Single Family Dwelling
750 Lake Cook Road                                                 Purchased in February 1998 (Purchase
                                                                   Price $192,000.00)
# 190
                                                                 J Value Per Zillow.com
Buffalo Grove, IL 60089                                            PIN#: 06-01-114-007

                                                                        Value $                         243,866.00                                 0.00                    0.00
Account No.                                                        Mortgage
                                                                   300 E. Hummingbird Lane
                                                                   Lindenhurst, Illinois 60046
TCF Bank                                                           Single Family Dwelling
7801 Marquette Avenue                                              Purchased in February 1998 (Purchase
                                                                   Price $192,000.00)
Minneapolis, MN 55402
                                                                 J Value Per Zillow.com
                                                                   PIN#: 06-01-114-007

                                                                        Value $                         243,866.00                           419,000.00          175,134.00
Account No. xxxxxxxxxxxx8001                                       Opened 4/01/07 Last Active 11/04/13
                                                                   Mortgage
                                                                   292 Hickory Lane,
TCF Mortgage Corporation                                           Antioch, Illinois 60002
Attn: Legal Dept                                                   Single Family Dwelling
                                                                   Purchased in May 2007 (Purchase Price
801 Marquette Ave
                                                                 H $139,000.00)
Minneapolis, MN 55402                                              Value Per Comps

                                                                        Value $                             75,000.00                        127,057.00            52,057.00
                                                                                                                         Subtotal
 2
_____ continuation sheets attached                                                                                                           546,057.00          227,191.00
                                                                                                                (Total of this page)




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   In re         George Aris Giamalakis,                                                                                        Case No.
                 Debbie Lynn Giamalakis
                                                                                                                   ,
                                                                                                  Debtors

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                              O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                              T    I   P       WITHOUT        UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                              B
                                                                               DESCRIPTION AND VALUE
                                                                                                                            I    Q   U
                                                                                                                                            DEDUCTING
                                                             T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No.                                                                                                                      E
                                                                                                                                 D

TCF National Bank                                                       Additional Notice Sent To:
800 Burr Ridge Parkway                                                  TCF Mortgage Corporation                                            Notice Only
Burr Ridge, IL 60527


                                                                        Value $
Account No. xxx6936                                                Statutory Lien - Water Bill
                                                                   292 Hickory Lane,
Village of Antioch                                                 Antioch, Illinois 60002
                                                                   Single Family Dwelling
874 Main Street                                                    Purchased in May 2007 (Purchase Price
Antioch, IL 60002                                                  $139,000.00)
                                                                 J Value Per Comps
                                                                   PIN#: 02-05-406-049
                                                                        Value $                             75,000.00                           419.21                419.21
Account No. xxxxxxxxx0166                                          Opened 5/01/11 Last Active 10/06/13
                                                                   Mortgage
                                                                   7239 Mystic Brook
Wells Fargo Home Mortgage                                          Davenport, Florida 33896
5620 Brooklyn Boulevard                                            Single Family Dwelling
Minneapolis, MN 55429                                              Purchased in May 2011 (Purchase Price
                                                                 H $164,000.00)
                                                                   Value Per Comps
                                                                        Value $                         155,000.00                           168,721.00           13,721.00
Account No.

Wells Fargo Bank, N.A.                                                  Additional Notice Sent To:
420 Montgomery Street                                                   Wells Fargo Home Mortgage                                           Notice Only
San Francisco, CA 94132


                                                                        Value $
Account No.

Wells Fargo Home Mortgage                                               Additional Notice Sent To:
8480 Stagecoach Circle                                                  Wells Fargo Home Mortgage                                           Notice Only
Frederick, MD 21701


                                                                        Value $
       1
Sheet _____    2
            of _____  continuation sheets attached to                                                                    Subtotal
                                                                                                                                             169,140.21           14,140.21
Schedule of Creditors Holding Secured Claims                                                                    (Total of this page)




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   In re         George Aris Giamalakis,                                                                                      Case No.
                 Debbie Lynn Giamalakis
                                                                                                                 ,
                                                                                                  Debtors

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                            O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                            T    I   P       WITHOUT        UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                       PORTION, IF
            INCLUDING ZIP CODE,                              B
                                                                               DESCRIPTION AND VALUE
                                                                                                                          I    Q   U
                                                                                                                                          DEDUCTING
                                                             T   J                                                        N    U   T                         ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                           G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                        E    D   D     COLLATERAL
                                                                                                                          N    A
                                                                                                                          T    T
Account No.                                                                                                                    E
                                                                                                                               D

Wells Fargo Home Mortgage                                               Additional Notice Sent To:
Po Box 10335                                                            Wells Fargo Home Mortgage                                         Notice Only
Des Moines, IA 50306


                                                                        Value $
Account No.




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Sheet _____    2
            of _____  continuation sheets attached to                                                                  Subtotal
                                                                                                                                                 0.00                   0.00
Schedule of Creditors Holding Secured Claims                                                                  (Total of this page)
                                                                                                                          Total            715,197.21         241,331.21
                                                                                                (Report on Summary of Schedules)

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  In re         George Aris Giamalakis,                                                                                            Case No.
                Debbie Lynn Giamalakis
                                                                                                                      ,
                                                                                                Debtors
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             0         continuation sheets attached
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   In re         George Aris Giamalakis,                                                                                 Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                         C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                      O                                                                  O   N   I
                   MAILING ADDRESS                                       D   H                                                              N   L   S
                 INCLUDING ZIP CODE,                                     E               DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                             W
                AND ACCOUNT NUMBER
                                                                         B             CONSIDERATION FOR CLAIM. IF CLAIM                    I   Q   U
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Account No. x1546                                                                Medical                                                    T   T
                                                                                                                                                E
                                                                                                                                                D

Allergy & Asthma Consultants LTS
36100 N. Brookside Drive #203                                                H
Gurnee, IL 60031

                                                                                                                                                                             5.00
Account No. xxxxx3856                                                            Collection Agency
                                                                                 Capital One Bank
Allied Interstate
3000 Corporate Exchange Drive                                                W
5th Floor
Columbus, OH 43236
                                                                                                                                                                       5,050.31
Account No.

Capital One, N.A. *                                                              Additional Notice Sent To:
c/o American Infosource                                                          Allied Interstate                                                                 Notice Only
P.O Box 54529
Oklahoma City, OK 73154


Account No.

Capital One, N.A.*                                                               Additional Notice Sent To:
1680 Capital One Drive                                                           Allied Interstate                                                                 Notice Only
Mc Lean, VA 22102



                                                                                                                                        Subtotal
 31 continuation sheets attached
_____                                                                                                                                                                  5,055.31
                                                                                                                              (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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Account No.                                                                                                                              E
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HSBC                                                                             Additional Notice Sent To:
PO Box 17332                                                                     Allied Interstate                                                       Notice Only
Baltimore, MD 21297



Account No. xxxx-xxxx-xxxx-2716                                                  Collection Agency
                                                                                 Chase
Allied Interstate
3000 Corporate Exchange Drive                                                H
5th Floor
Columbus, OH 43236
                                                                                                                                                             4,681.83
Account No.

Chase *                                                                          Additional Notice Sent To:
ATTN: Bankruptcy Department                                                      Allied Interstate                                                       Notice Only
P.O. Box 15298
Wilmington, DE 19850


Account No. xxx xxxxxx3A16                                                       Collection Agency
                                                                                 Laboratory Corporation Of America
American Medical Collection Agency
4 Westchester Plaza, Suite 110                                               H
Elmsford, NY 10523

                                                                                                                                                               133.85
Account No.

Laboratory Corporation of America                                                Additional Notice Sent To:
PO Box 2240                                                                      American Medical Collection Agency                                      Notice Only
Burlington, NC 27216



           1
Sheet no. _____     31 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                             4,815.68
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
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Account No.                                                                                                                              E
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LCA Collections                                                                  Additional Notice Sent To:
Po Box 2240                                                                      American Medical Collection Agency                                      Notice Only
Burlington, NC 27216



Account No.                                                                      Collection for Chase

American Medical Collection Agency
4 Westchester Plaza, Suite 110                                               J
Elmsford, NY 10523

                                                                                                                                                             5,018.76
Account No.

Chase *                                                                          Additional Notice Sent To:
ATTN: Bankruptcy Department                                                      American Medical Collection Agency                                      Notice Only
P.O. Box 15298
Wilmington, DE 19850


Account No.

MCM                                                                              Additional Notice Sent To:
Dept 12421                                                                       American Medical Collection Agency                                      Notice Only
PO Box 603
Oaks, PA 19456


Account No.

Midland Credit Management, Inc.                                                  Additional Notice Sent To:
8875 Aero Drive                                                                  American Medical Collection Agency                                      Notice Only
San Diego, CA 92123



           2
Sheet no. _____     31 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                             5,018.76
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
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Account No.                                                                                                                              E
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Midland Funding                                                                  Additional Notice Sent To:
8875 Aero Drive, Suite 200                                                       American Medical Collection Agency                                      Notice Only
San Diego, CA 92123



Account No. 178084 and 178685                                                    2013
                                                                                 Services
American National Sprinkler &
Lighting                                                                     H
924 Turret Court
Mundelein, IL 60060
                                                                                                                                                               163.00
Account No. xx8136                                                               Services

Anderson Pest Solutions
501 W. Lake Street, Suite 204                                                H
Elmhurst, IL 60126

                                                                                                                                                               108.00
Account No. xxxxxxxx4688                                                         Medical

Anthem Health
PO Box 70000                                                                 H
Van Nuys, CA 91470

                                                                                                                                                                 25.00
Account No. xxxxxxx3199                                                          Medical

Anthem Health
PO Box 70000                                                                 J
Van Nuys, CA 91470

                                                                                                                                                               150.00

           3
Sheet no. _____     31 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                               446.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




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                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxxxx2133                                                           Opened 10/01/12                                         E
                                                                                 Collection Agency                                       D

Armor Systems Corporation                                                        College Of Lake County
1700 Kiefer Drive, Suite 1                                                   H
Zion, IL 60099

                                                                                                                                                                 96.00
Account No.

College of Lake County                                                           Additional Notice Sent To:
19351 W. Washington St                                                           Armor Systems Corporation                                               Notice Only
Grayslake, IL 60030



Account No. xx8931                                                               Medical

Athletico Ltd
625 Enterprise Drive                                                         J
Oak Brook, IL 60523

                                                                                                                                                               275.00
Account No.                                                                      Notice Only
                                                                                 Case No.: 2012 SC 6342
Blatt, Hasenmiller, Leibsker and
Moore,                                                                       J
125 S. Wacker Drive, Suite400
Chicago, IL 60606
                                                                                                                                                                   0.00
Account No.                                                                      Notice Only
                                                                                 2012 SC 06908
Blitt & Gaines, P.C.
661 W. Glenn Avenue                                                          J
Wheeling, IL 60090

                                                                                                                                                                   0.00

           4
Sheet no. _____     31 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                               371.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxxxxxxxxxx4856                                                     Opened 8/01/06 Last Active 8/20/11                      E
                                                                                 Credit Card                                             D

Capital One, N.A.*
1680 Capital One Drive                                                       W
Mc Lean, VA 22102

                                                                                                                                                             6,012.00
Account No.

Capital One, N.A. *                                                              Additional Notice Sent To:
c/o American Infosource                                                          Capital One, N.A.*                                                      Notice Only
P.O Box 54529
Oklahoma City, OK 73154


Account No.

First Source Advantage                                                           Additional Notice Sent To:
PO Box 628                                                                       Capital One, N.A.*                                                      Notice Only
Buffalo, NY 14240



Account No.

First Sources Advantage, LLC                                                     Additional Notice Sent To:
205 Bryant Woods South                                                           Capital One, N.A.*                                                      Notice Only
Amherst, NY 14228



Account No. xxxxxxxxxxxx4726                                                     Opened 11/01/05 Last Active 9/05/11
                                                                                 Credit Card
Capital One, N.A.*
1680 Capital One Drive                                                       H
Mc Lean, VA 22102

                                                                                                                                                             4,800.00

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Sheet no. _____     31 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                           10,812.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                              R                                                           E   D   D
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Account No.                                                                                                                              E
                                                                                                                                         D

Capital One, N.A. *                                                              Additional Notice Sent To:
c/o American Infosource                                                          Capital One, N.A.*                                                      Notice Only
P.O Box 54529
Oklahoma City, OK 73154


Account No. xxxxxxxxxxxx6564                                                     Opened 11/01/05 Last Active 4/08/12
                                                                                 Credit Card
Capital One, N.A.*
1680 Capital One Drive                                                       W
Mc Lean, VA 22102

                                                                                                                                                             3,777.00
Account No.

Capital One, N.A. *                                                              Additional Notice Sent To:
c/o American Infosource                                                          Capital One, N.A.*                                                      Notice Only
P.O Box 54529
Oklahoma City, OK 73154


Account No. xxxxxxxxxxxxxx0001                                                   Collection Agency
                                                                                 Toyota Motor Credit Corp
Central Credit Services
PO Box 15118                                                                 J
Jacksonville, FL 32239

                                                                                                                                                             5,550.30
Account No.

Blatt Hasenmiller F L                                                            Additional Notice Sent To:
125 S. Wacker Drive #400                                                         Central Credit Services                                                 Notice Only
Chicago, IL 60606



           6
Sheet no. _____     31 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                             9,327.30
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
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                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
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Account No.                                                                                                                              E
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Toyota Motor Credit                                                              Additional Notice Sent To:
Toyota Financial Services                                                        Central Credit Services                                                 Notice Only
PO Box 8026
Cedar Rapids, IA 52408


Account No. xxxx70Q1                                                             Opened 8/01/12
                                                                                 Collection Agency
Certified Recovery, Inc.                                                         Global Medical Imaging S.C.
PO Box 808                                                                   H
Eau Claire, WI 54702

                                                                                                                                                                 83.00
Account No.

Certified Services, INC.                                                         Additional Notice Sent To:
P.O. Box 177                                                                     Certified Recovery, Inc.                                                Notice Only
Waukegan, IL 60079



Account No.

Global Medical Imaging S.C.                                                      Additional Notice Sent To:
25 Tower Court # A                                                               Certified Recovery, Inc.                                                Notice Only
Gurnee, IL 60031



Account No. x5087                                                                Opened 7/01/12 Last Active 10/04/12
                                                                                 Collection Agency
Certified Services, Inc.                                                         Medical Eye Services
1733 Washington Street Suite 2                                               H
Waukegan, IL 60085

                                                                                                                                                                 32.00

           7
Sheet no. _____     31 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                               115.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




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                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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Account No.                                                                                                                              E
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Certified Recovery, Inc.                                                         Additional Notice Sent To:
PO Box 808                                                                       Certified Services, Inc.                                                Notice Only
Eau Claire, WI 54702



Account No.

Certified Services, INC.                                                         Additional Notice Sent To:
P.O. Box 177                                                                     Certified Services, Inc.                                                Notice Only
Waukegan, IL 60079



Account No.

Medical Eye Services LTD                                                         Additional Notice Sent To:
48 S. Greenleaf Avenue                                                           Certified Services, Inc.                                                Notice Only
Gurnee, IL 60031



Account No. xxxx06Q1                                                             Opened 6/01/12
                                                                                 Collection Agency
Certified Services, Inc.                                                         Global Medical Imaging S.C.
1733 Washington Street Suite 2                                               H
Waukegan, IL 60085

                                                                                                                                                                 10.00
Account No.

Certified Recovery, Inc.                                                         Additional Notice Sent To:
PO Box 808                                                                       Certified Services, Inc.                                                Notice Only
Eau Claire, WI 54702



           8
Sheet no. _____     31 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                                 10.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




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Account No.                                                                                                                              E
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Certified Services, INC.                                                         Additional Notice Sent To:
P.O. Box 177                                                                     Certified Services, Inc.                                                Notice Only
Waukegan, IL 60079



Account No.

Global Medical Services                                                          Additional Notice Sent To:
25 Tower Court # A                                                               Certified Services, Inc.                                                Notice Only
Gurnee, IL 60031



Account No. xxxx8919                                                             Opened 2/01/12
                                                                                 Collection Agency
Choice Recovery                                                                  Therapeutics
1550 Old Henderson Road Street                                               H
Columbus, OH 43220

                                                                                                                                                               160.00
Account No.

First Federal Credit Control                                                     Additional Notice Sent To:
1550 Old Henderson Road                                                          Choice Recovery                                                         Notice Only
Columbus, OH 43220



Account No. xxxx-xxx392.1                                                        Medical

Consolidated Pathology Consultants
75 Remittance Drive                                                          W
Department 1895
Chicago, IL 60675
                                                                                                                                                                 35.00

           9
Sheet no. _____     31 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                               195.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




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Account No. xxx0552                                                              Opened 5/01/13                                          E
                                                                                 Collection Agency                                       D

Convergent Outsourcing, Inc.                                                     T-Mobile Usa
10750 Hammerly Boulevard, #200                                               H
Houston, TX 77043

                                                                                                                                                               165.00
Account No.

Convergent Outsourcing, Inc                                                      Additional Notice Sent To:
800 SW 39th Street                                                               Convergent Outsourcing, Inc.                                            Notice Only
PO Box 9004
Renton, WA 98057


Account No.

Convergent Outsourcing, Inc.                                                     Additional Notice Sent To:
PO Box 9004                                                                      Convergent Outsourcing, Inc.                                            Notice Only
Renton, WA 98057



Account No.

T-Mobile                                                                         Additional Notice Sent To:
12920 SE 38th Street                                                             Convergent Outsourcing, Inc.                                            Notice Only
Bellevue, WA 98006



Account No.                                                                      Credit Card

Credit One Bank
585 Pilot Rd                                                                 J
Las Vegas, NV 89119

                                                                                                                                                             2,102.22

           10 of _____
Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                             2,267.22
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
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                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




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Account No.                                                                                                                              E
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Credit One Bank                                                                  Additional Notice Sent To:
P.O Box 98872                                                                    Credit One Bank                                                         Notice Only
Las Vegas, NV 89193



Account No.                                                                      Collectionfor T-Mobile

David P. Duryea
PO Box 9100                                                                  J
Farmingdale, NY 11735

                                                                                                                                                               165.50
Account No.

Sunrise Credit Services Inc                                                      Additional Notice Sent To:
260 Airport Plaza                                                                David P. Duryea                                                         Notice Only




Account No.

Sunrise Credit Services Inc                                                      Additional Notice Sent To:
260 Airport Plaza                                                                David P. Duryea                                                         Notice Only
P.O. Box 9100
Farmingdale, NY 11735


Account No.

T-Mobile                                                                         Additional Notice Sent To:
12929 SE 38th Street                                                             David P. Duryea                                                         Notice Only
Bellevue, WA 98006



           11 of _____
Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                               165.50
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




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Account No.                                                                                                                              E
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T-Mobile                                                                         Additional Notice Sent To:
12920 SE 38th Street                                                             David P. Duryea                                                         Notice Only
Bellevue, WA 98006



Account No.                                                                      Notice Only
                                                                                 Case No.: 2013 CH 2905
David T. Cohen & Associates, Ltd
10729 W. 159th Street                                                        J
Orland Park, IL 60467

                                                                                                                                                                   0.00
Account No.                                                                      Attorney Fees

Diambri and Caravello
300 Green Bay Road                                                           J
Highwood, IL 60040

                                                                                                                                                               189.50
Account No.                                                                      Credit Card

Direct Merchants Bank
17600 N. Perimeter Drive                                                     J
Scottsdale, AZ 85255

                                                                                                                                                             5,050.31
Account No.                                                                      Collection for HSBC

Echelon Recovery, Inc.
P.O. Box 1880                                                                J
Voorhees, NJ 08043

                                                                                                                                                             2,293.26

           12 of _____
Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                             7,533.07
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




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Account No.                                                                                                                              E
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Cavalry Portfolio Services                                                       Additional Notice Sent To:
500 Summit Lake Drive                                                            Echelon Recovery, Inc.                                                  Notice Only
Valhalla, NY 10595



Account No.

HSBC                                                                             Additional Notice Sent To:
Po Box 5213                                                                      Echelon Recovery, Inc.                                                  Notice Only
Carol Stream, IL 60197



Account No.

HSBC                                                                             Additional Notice Sent To:
Po Box 5213                                                                      Echelon Recovery, Inc.                                                  Notice Only
Carol Stream, IL 60197



Account No.

HSBC                                                                             Additional Notice Sent To:
Attn: CLM FAP                                                                    Echelon Recovery, Inc.                                                  Notice Only
2929 Walden Avenue
Depew, NY 14043


Account No.

Professional Recovery Services                                                   Additional Notice Sent To:
PO Box 1880                                                                      Echelon Recovery, Inc.                                                  Notice Only
Voorhees, NJ 08043



           13 of _____
Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                                   0.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




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Account No.                                                                      HSBC                                                    E
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Enhanced Recovery Co
8014 Bayberry Road                                                           J
Jacksonville, FL 32256

                                                                                                                                                             4,819.88
Account No.

Enhanced Recovery Co                                                             Additional Notice Sent To:
Po Box 3002                                                                      Enhanced Recovery Co                                                    Notice Only
Southeastern, PA 19398



Account No.                                                                      Collection for AT&T

EOS CCA
700 Longwater Drive                                                          J
Norwell, MA 02061

                                                                                                                                                               756.06
Account No.

At & T Mobility                                                                  Additional Notice Sent To:
P.O. Box 6416                                                                    EOS CCA                                                                 Notice Only
Carol Stream, IL 60197



Account No.

AT&T Mobility                                                                    Additional Notice Sent To:
PO Box 6416                                                                      EOS CCA                                                                 Notice Only
Carol Stream, IL 60197-6416



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Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                             5,575.94
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




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Account No.                                                                                                                              E
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AT&T Services, Inc.                                                              Additional Notice Sent To:
909 Chestnut Street                                                              EOS CCA                                                                 Notice Only
Saint Louis, MO 63101



Account No.

ATF                                                                              Additional Notice Sent To:
3550 W. Pratt Avenue                                                             EOS CCA                                                                 Notice Only
Lincolnwood, IL 60712



Account No.

EOS CCA                                                                          Additional Notice Sent To:
PO Box 439                                                                       EOS CCA                                                                 Notice Only
Norwell, MA 02061



Account No.

Portfolio Recovery Associates                                                    Additional Notice Sent To:
Po box 12914                                                                     EOS CCA                                                                 Notice Only
Norfolk, VA 23541



Account No.

Portfolio Recovery Associates LLC                                                Additional Notice Sent To:
PO Box 41067                                                                     EOS CCA                                                                 Notice Only
Norfolk, VA 23541



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Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




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Account No.                                                                                                                              E
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Portfolio Recovery Associates, Inc                                               Additional Notice Sent To:
120 Corporate Boulevard                                                          EOS CCA                                                                 Notice Only
Norfolk, VA 23502



Account No.                                                                      Notice Only

Equifax Information Services, LLC
1550 Peachtree Street NW                                                     J
Atlanta, GA 30309

                                                                                                                                                                   0.00
Account No. xxxxx6104                                                            Collection Agency
                                                                                 ADT Security Services
Equinox
2720 S. River Road                                                           H
Suite 4
Des Plaines, IL 60018
                                                                                                                                                               263.10
Account No.

ADT Alarms                                                                       Additional Notice Sent To:
PO Box 650485                                                                    Equinox                                                                 Notice Only
Dallas, TX 75265



Account No.                                                                      Notice Only

Experian Information Solutions, Inc.
475 Anton Boulevard                                                          J
Costa Mesa, CA 92626

                                                                                                                                                                   0.00

           16 of _____
Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                               263.10
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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                     Case 13-47468                     Doc 1            Filed 12/11/13 Entered 12/11/13 17:25:51                      Desc Main
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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
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                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




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Account No.                                                                    Notice Only                                               E
                                                                               Case No.:                                                 D

Freedman Anselmo Lindberg LLC                                                  2012 SC 6554
1807 W. Diehl Road, Suite 333                                                J 2012 SC 6178
Naperville, IL 60563                                                           2012 SC 6173


                                                                                                                                                                   0.00
Account No.

Freedman Anselmo Lindberg LLC                                                    Additional Notice Sent To:
Po Box 3228                                                                      Freedman Anselmo Lindberg LLC                                           Notice Only
Naperville, IL 60566



Account No. xxxxxxxx0494                                                         Credit Card

HSBC
One HSBC Center                                                              W
Buffalo, NY 14203

                                                                                                                                                             4,819.88
Account No. xxxx4839                                                             Medical

IL Bone and Joint Institute
5057 Paysphere Circle                                                        W
Chicago, IL 60674-0050

                                                                                                                                                                 25.00
Account No. xxxx4813                                                             Collection Agency
                                                                                 Cavalry SPV I LLC
JC Christensen & Associates, Inc.
PO Box 519                                                                   W
Sauk Rapids, MN 56379

                                                                                                                                                             2,292.26

           17 of _____
Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                             7,137.14
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
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                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
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Account No.                                                                                                                              E
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Cavalry Portfolio Services                                                       Additional Notice Sent To:
500 Summit Lake Drive                                                            JC Christensen & Associates, Inc.                                       Notice Only
Valhalla, NY 10595



Account No. xxxx4469                                                             Medical

LabCorp
Po Box 2240                                                                  J
Burlington, NC 27216-2240

                                                                                                                                                                 26.00
Account No. xxxx7571                                                             Medical

LabCorp
Po Box 2240                                                                  J
Burlington, NC 27216-2240

                                                                                                                                                                   5.85
Account No. xxxx2908                                                             Medical

LabCorp
Po Box 2240                                                                  J
Burlington, NC 27216-2240

                                                                                                                                                               102.00
Account No. xxx xxxxx xxxxxxakis                                                 Services

Law Offices of Diambri and Caravello
300 Green Bar Road                                                           H
Highwood, IL 60040

                                                                                                                                                               189.50

           18 of _____
Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                               323.35
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
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                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxxxxxxxxxxx9438                                                    Collection Agency                                       E
                                                                                 Village Of Round Lake Beach                             D

MCSI Inc
7330 College Drive, Suite 108                                                H
Palos Heights, IL 60463

                                                                                                                                                               125.00
Account No.

Village of Round Lake Beach                                                      Additional Notice Sent To:
1937 Municipal Way                                                               MCSI Inc                                                                Notice Only
Round Lake, IL 60073



Account No.                                                                      Medical

Metro Center for Health
901 McClintock Drive                                                         J
Suite 202
Willowbrook, IL 60527
                                                                                                                                                                 30.86
Account No.                                                                      Collection for Credit One

Midland Credit Management, Inc.
8875 Aero Drive                                                              J
San Diego, CA 92123

                                                                                                                                                             2,250.76
Account No.

Credit One Bank                                                                  Additional Notice Sent To:
P.O Box 98872                                                                    Midland Credit Management, Inc.                                         Notice Only
Las Vegas, NV 89193



           19 of _____
Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                             2,406.62
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Collection for Village of Round Lake Beach              E
                                                                                                                                         D

Municipal Collection Services, Inc.
7330 College Drive, Suite 108,                                               J
Palos Heights, IL 60463

                                                                                                                                                               125.00
Account No.                                                                      Collection for Capital One Bank

NCO Financial
507 Prudential Road                                                          J
Horsham, PA 19044

                                                                                                                                                             5,641.60
Account No.

Capital One, N.A. *                                                              Additional Notice Sent To:
c/o American Infosource                                                          NCO Financial                                                           Notice Only
P.O Box 54529
Oklahoma City, OK 73154


Account No.

Capital One, N.A.*                                                               Additional Notice Sent To:
1680 Capital One Drive                                                           NCO Financial                                                           Notice Only
Mc Lean, VA 22102



Account No.

NCO Financial System                                                             Additional Notice Sent To:
507 Prudential Road                                                              NCO Financial                                                           Notice Only
Horsham, PA 19044



           20 of _____
Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                             5,766.60
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
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Account No.                                                                                                                              E
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NCO Financial Systems, Inc.                                                      Additional Notice Sent To:
PO Box 15636                                                                     NCO Financial                                                           Notice Only
Wilmington, DE 19850



Account No.                                                                      Collection for Credit One Bank

NCO Financial Systems, Inc.
507 Prudential Road                                                          J
Horsham, PA 19044

                                                                                                                                                               350.00
Account No.

Credit One Bank                                                                  Additional Notice Sent To:
PO Box 740237                                                                    NCO Financial Systems, Inc.                                             Notice Only
Atlanta, GA 30374



Account No.

NCO Financial Systems, Inc.                                                      Additional Notice Sent To:
PO NBox 15636                                                                    NCO Financial Systems, Inc.                                             Notice Only
Wilmington, DE 19850



Account No. xxxxx1542                                                            Medical

Northwestern Lake Forest Hospital
660 North Westmoreland Road                                                  H
Lake Forest, IL 60045

                                                                                                                                                               152.00

           21 of _____
Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                               502.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




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                  (See instructions above.)                              R                                                           E   D   D
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Account No.                                                                                                                              E
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Malcolm S. Gerald and Associates,                                                Additional Notice Sent To:
Inc.                                                                             Northwestern Lake Forest Hospital                                       Notice Only
332 South Michigan Avenue
Suite 600
Chicago, IL 60604

Account No. xxxxx0055                                                            Medical

Northwestern Lake Forest Hospital
660 North Westmoreland Road                                                  H
Lake Forest, IL 60045

                                                                                                                                                               196.00
Account No.

Malcolm S. Gerald and Associates,                                                Additional Notice Sent To:
Inc.                                                                             Northwestern Lake Forest Hospital                                       Notice Only
332 South Michigan Avenue
Suite 600
Chicago, IL 60604

Account No. xxxxx1542                                                            Medical

Northwestern Lake Forest Hospital
660 North Westmoreland Road                                                  W
Lake Forest, IL 60045

                                                                                                                                                               150.00
Account No.

Malcolm S. Gerald and Associates,                                                Additional Notice Sent To:
Inc.                                                                             Northwestern Lake Forest Hospital                                       Notice Only
332 South Michigan Avenue
Suite 600
Chicago, IL 60604

           22 of _____
Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                               346.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




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                   CREDITOR'S NAME,                                      O                                                           O   N   I
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                                                                                                                                     N   A
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Account No. xxxx9535                                                             Medical                                                 E
                                                                                                                                         D

Northwestern Lake Forest Hospital
660 North Westmoreland Road                                                  H
Lake Forest, IL 60045

                                                                                                                                                               120.80
Account No.

Malcolm S. Gerald and Associates,                                                Additional Notice Sent To:
Inc.                                                                             Northwestern Lake Forest Hospital                                       Notice Only
332 South Michigan Avenue
Suite 600
Chicago, IL 60604

Account No. xxxx9535                                                             Medical

Northwestern Lake Forest Hospital
660 North Westmoreland Road                                                  J
Lake Forest, IL 60045

                                                                                                                                                             3,179.00
Account No.

Malcolm S. Gerald and Associates,                                                Additional Notice Sent To:
Inc.                                                                             Northwestern Lake Forest Hospital                                       Notice Only
332 South Michigan Avenue
Suite 600
Chicago, IL 60604

Account No. xxxx7141                                                             Medical

Northwestern Lake Forest Hospital
660 North Westmoreland Road                                                  J
Lake Forest, IL 60045

                                                                                                                                                             1,619.00

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Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                             4,918.80
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




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                   CREDITOR'S NAME,                                      O                                                           O   N   I
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Account No.                                                                                                                              E
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Malcolm S. Gerald and Associates,                                                Additional Notice Sent To:
Inc.                                                                             Northwestern Lake Forest Hospital                                       Notice Only
332 South Michigan Avenue
Suite 600
Chicago, IL 60604

Account No. xxxx9790                                                             Medical

Northwestern Lake Forest Hospital
660 North Westmoreland Road                                                  J
Lake Forest, IL 60045

                                                                                                                                                                   8.30
Account No. x-xxxx0407                                                           Medical

Northwestern Medical Faculty
Foundation                                                                   W
38693 Eagle Way
Chicago, IL 60678
                                                                                                                                                                 25.00
Account No.                                                                      Medical

Orion Anesthesia Associates PC
PO Box 991                                                                   J
Park Ridge, IL 60068

                                                                                                                                                                 49.00
Account No.                                                                      Medical

Peak Therapeutics, Ltd
3545 Lake Avenue                                                             J
Wilmette, IL 60091

                                                                                                                                                               160.00

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Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                               242.30
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
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Account No.                                                                                                                              E
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First Federal Credit Control                                                     Additional Notice Sent To:
1550 Old Henderson Road                                                          Peak Therapeutics, Ltd                                                  Notice Only
Columbus, OH 43220



Account No.

First Federal Credit Control                                                     Additional Notice Sent To:
PO Box 20790                                                                     Peak Therapeutics, Ltd                                                  Notice Only
Columbus, OH 43220



Account No. xxxxxxxxxxxx1173                                                     Opened 6/01/11 Last Active 2/07/13
                                                                                 Vehicle Repossession
PNC Bank                                                                         2005 Chevrolet Aveo
2730 Liberty Avenue                                                          H
Pittsburgh, PA 15222

                                                                                                                                                             5,085.00
Account No.

PNC Bank                                                                         Additional Notice Sent To:
PO Box 5570                                                                      PNC Bank                                                                Notice Only
Cleveland, OH 44101



Account No.

PNC Bank                                                                         Additional Notice Sent To:
249 5th Avenue, Suite 30                                                         PNC Bank                                                                Notice Only
Pittsburgh, PA 15222



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Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                             5,085.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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                  (See instructions above.)                              R                                                           E   D   D
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Account No.                                                                                                                              E
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PNC Bank N.A *                                                                   Additional Notice Sent To:
1 Financial Parkway                                                              PNC Bank                                                                Notice Only
Kalamazoo, MI 49009



Account No. xxx9795                                                              Collection Agency
                                                                                 North Shore Center For Gastroenterology
Professional Placement Services
272 N. 12th Street                                                           H
PO Box 612
Milwaukee, WI 53233
                                                                                                                                                                 96.58
Account No.

Northshore Center For                                                            Additional Notice Sent To:
Gastroenterology                                                                 Professional Placement Services                                         Notice Only
1880 W. Winchester Road
Libertyville, IL 60048


Account No.                                                                      Medical

Pulmonary Physicians of the North
Shore                                                                        J
2151 Waukegan Road, Suite 110
Deerfield, IL 60015
                                                                                                                                                                 20.00
Account No.                                                                      Collection for T-Mobile

Receivables Performance
Management                                                                   J
1930 220th Street SE
Suite 101
Bothell, WA 98021                                                                                                                                              165.50

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Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                               282.08
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




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                   CREDITOR'S NAME,                                      O                                                           O   N   I
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                  (See instructions above.)                              R                                                           E   D   D
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Account No.                                                                                                                              E
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T-Mobile                                                                         Additional Notice Sent To:
12920 SE 38th Street                                                             Receivables Performance Management                                      Notice Only
Bellevue, WA 98006



Account No.                                                                      Services

Robinson Heating & Cooling
2413 Washington Street                                                       J
Waukegan, IL 60085

                                                                                                                                                               450.00
Account No.                                                                      Parking Violation

Round Lake Beach Police Department
1947 N. Municipal Way                                                        J
Round Lake, IL 60073

                                                                                                                                                               125.00
Account No. xxxx6565                                                             Services

Scotts Lawn Service Chicago North
PO Box 388                                                                   J
Marysville, OH 43040

                                                                                                                                                                 54.15
Account No.

American Profit Recovery                                                         Additional Notice Sent To:
34405 W. 12 Mile Road, Suite 379                                                 Scotts Lawn Service Chicago North                                       Notice Only
Farmington, MI 48331



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Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                               629.15
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




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                   CREDITOR'S NAME,                                      O                                                           O   N   I
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxxxxxxxxxx1173                                                     Collection Agency                                       E
                                                                                 PNC Bank                                                D

SRA Associates
401 Minnetonka Road                                                          H
Hi Nella, NJ 08083

                                                                                                                                                             5,317.07
Account No.

PNC Bank N.A *                                                                   Additional Notice Sent To:
1 Financial Parkway                                                              SRA Associates                                                          Notice Only
Kalamazoo, MI 49009



Account No.                                                                      Medical

Stephen J. Clark MD PC
3021 Falling Waters Boulevard                                                J
S-A
Lindenhurst, IL 60046
                                                                                                                                                               205.00
Account No.                                                                      Overdrawn Account

TCF Bank
7801 Marquette Avenue                                                        J
Minneapolis, MN 55402

                                                                                                                                                                 24.42
Account No.

TCF Bank                                                                         Additional Notice Sent To:
5667 W. Touhy                                                                    TCF Bank                                                                Notice Only




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Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                             5,546.49
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
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                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
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Account No.                                                                                                                              E
                                                                                                                                         D

TCF Banking & Savings                                                            Additional Notice Sent To:
801 Marquette Avenue                                                             TCF Bank                                                                Notice Only
Minneapolis, MN 55402



Account No. xxxxxxxxxx0001                                                       Services

The Davey Tree Expert Company
1500 N. Mantua Street                                                        J
Kent, OH 44240

                                                                                                                                                                 95.00
Account No.

The SC at 900 North Michigan
LBX 619752                                                                   J
PO Box 6197
Chicago, IL 60680
                                                                                                                                                               125.00
Account No.

Lou Harris & Company                                                             Additional Notice Sent To:
1040 S. Milwaukee Avenue, Suite 110                                              The SC at 900 North Michigan                                            Notice Only
Wheeling, IL 60090



Account No.

Lou Harris Company                                                               Additional Notice Sent To:
613 Academy Drive                                                                The SC at 900 North Michigan                                            Notice Only
Northbrook, IL 60062



           29 of _____
Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                               220.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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                     Case 13-47468                     Doc 1            Filed 12/11/13 Entered 12/11/13 17:25:51                      Desc Main
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 B6F (Official Form 6F) (12/07) - Cont.




   In re         George Aris Giamalakis,                                                                              Case No.
                 Debbie Lynn Giamalakis
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Vehicle Repossessed                                     E
                                                                                 2011 Toyota Sienna                                      D

Toyota Motor Credit
Toyota Financial Services                                                    J
PO Box 8026
Cedar Rapids, IA 52408
                                                                                                                                                           26,027.66
Account No.                                                                      Notice Only

Trans Union LLC
1561 E. Orangethorpe Avenue                                                  J
Fullerton, CA 92831

                                                                                                                                                                   0.00
Account No.                                                                      Collection for Advanced Dental Arts

Transworld Systems
2235 Mercury Way, Ste 275                                                    J
Santa Rosa, CA 95407

                                                                                                                                                                 88.00
Account No.

Advanced Dental Arts                                                             Additional Notice Sent To:
18931 W. Washington Street                                                       Transworld Systems                                                      Notice Only
Suite 300
Grayslake, IL 60030


Account No.

Transworld Systems                                                               Additional Notice Sent To:
Po Box 12103                                                                     Transworld Systems                                                      Notice Only
Trenton, NJ 08650



           30 of _____
Sheet no. _____    31 sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                           26,115.66
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         George Aris Giamalakis,                                                                                    Case No.
                 Debbie Lynn Giamalakis
                                                                                                                   ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                      O                                                                  O   N   I
                   MAILING ADDRESS                                       D   H                                                              N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                         B                                                                  I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                              R                                                                  E   D   D
                                                                                                                                            N   A
                                                                                                                                            T   T
Account No.                                                                                                                                     E
                                                                                                                                                D

Transworld Systems                                                               Additional Notice Sent To:
1375 E. Woodfield Road, #110                                                     Transworld Systems                                                             Notice Only
Schaumburg, IL 60173



Account No.

Transworld Systems Inc.                                                          Additional Notice Sent To:
507 Prudential Road                                                              Transworld Systems                                                             Notice Only
Horsham, PA 19044



Account No.




Account No.




Account No.




           31 of _____
Sheet no. _____    31 sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                          0.00
Creditors Holding Unsecured Nonpriority Claims                                                                                  (Total of this page)
                                                                                                                                            Total
                                                                                                                  (Report on Summary of Schedules)              111,492.07


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B6G (Official Form 6G) (12/07)


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  In re             George Aris Giamalakis,                                                                     Case No.
                    Debbie Lynn Giamalakis
                                                                                                      ,
                                                                                    Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.

                     Kevin and Sheri Pop                                                 Residential Lease
                     Antioch, IL 60002                                                   Debtors are Lessors
                                                                                         Monthly Payment: $790.00
                                                                                         Month to Month Lease

                     Victor Colon                                                        Residential Lease
                     Davenport, FL 33896                                                 Debtors are Lessors
                                                                                         Monthly Payment: $1340.00
                                                                                         Month to Month Lease




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                                                                        Document     Page 53 of 96
B6H (Official Form 6H) (12/07)


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  In re          George Aris Giamalakis,                                                                 Case No.
                 Debbie Lynn Giamalakis
                                                                                               ,
                                                                                    Debtors
                                                                   SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                         NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
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                                                           Document     Page 54 of 96


Fill in this information to identify your case:

Debtor 1                      George Aris Giamalakis

Debtor 2                      Debbie Lynn Giamalakis
(Spouse, if filing)


United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ILLINOIS

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing post-petition chapter
                                                                                                            13 income as of the following date:

Official Form B 6I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                           12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
                                             Employment status
       attach a separate page with
                                                                      Not employed                               Not employed
       information about additional
       employers.                            Occupation            Courier
       Include part-time, seasonal, or
                                             Employer's name       FedEx Express                              Medical Leave of Absence
       self-employed work.

       Occupation may include student        Employer's address
                                                                   3747 W. Howard
       or homemaker, if it applies.                                Skokie, IL 60076

                                             How long employed there?         24 Years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $        5,363.15     $             0.00

3.     Estimate and list monthly overtime pay.                                             3.     +$             0.00    +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $      5,363.15           $       0.00




Official Form B 6I                                                      Schedule I: Your Income                                                 page 1
              Case 13-47468             Doc 1       Filed 12/11/13 Entered 12/11/13 17:25:51                                    Desc Main
                                                     Document     Page 55 of 96

Debtor 1    George Aris Giamalakis
Debtor 2    Debbie Lynn Giamalakis                                                                Case number (if known)



                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      5,363.15       $             0.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $      1,101.10       $                0.00
      5b.   Mandatory contributions for retirement plans                                   5b.        $          0.00       $                0.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $        429.04       $                0.00
      5d.   Required repayments of retirement fund loans                                   5d.        $          0.00       $                0.00
      5e.   Insurance                                                                      5e.        $        394.98       $                0.00
      5f.   Domestic support obligations                                                   5f.        $          0.00       $                0.00
      5g.   Union dues                                                                     5g.        $          0.00       $                0.00
      5h.   Other deductions. Specify:                                                     5h.+       $          0.00 +     $                0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,925.12       $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,438.03       $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $      1,979.00       $                0.00
      8b. Interest and dividends                                                           8b.        $          0.00       $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $                0.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
      8e. Social Security                                                                  8e.        $              0.00   $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          1,979.00       $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              5,417.03 + $            0.00 = $           5,417.03
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $           5,417.03
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Co-Debtor suffers from severe sleep apnea. This causes her extreme headaches and other various
                             medical conditions. As a result, the Co-Debtor has been forced to take an indefinite medical leave
                             of absense from work (with the possibility of permanency) as of October 2013. In addition she is
                             need of a knee replacement and is blind in one eye.




Official Form B 6I                                                    Schedule I: Your Income                                                         page 2
              Case 13-47468                 Doc 1        Filed 12/11/13 Entered 12/11/13 17:25:51                                   Desc Main
                                                          Document     Page 56 of 96


Fill in this information to identify your case:

Debtor 1               George Aris Giamalakis                                                            Check if this is:
                                                                                                               An amended filing
Debtor 2               Debbie Lynn Giamalakis                                                                  A supplement showing post-petition chapter 13
(Spouse, if filing)                                                                                            expenses as of the following date:

United States Bankruptcy Court for the:        NORTHERN DISTRICT OF ILLINOIS                                       MM / DD / YYYY

Case number                                                                                                    A separate filing for Debtor 2 because Debtor 2
(If known)                                                                                                     maintains a separate household




Official Form B 6J
Schedule J: Your Expenses                                                                                                                                   12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:    Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                   No
                   Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?             No

      Do not list Debtor 1 and           Yes. Fill out this information for     Dependent’s relationship to           Dependent’s        Does dependent
      Debtor 2.                       each dependent...........                 Debtor 1 or Debtor 2                  age                live with you?

      Do not state the dependents'                                                                                                           No
      names.                                                                    Daughter                              15                     Yes
                                                                                                                                             No
                                                                                Son                                   26                     Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:     Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                          Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage payments
      and any rent for the ground or lot.                                                                 4. $                               1,500.00

      If not included in line 4:

      4a.   Real estate taxes                                                                            4a.   $                                   0.00
      4b.   Property, homeowner’s, or renter’s insurance                                                 4b.   $                                   0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                4c.   $                                   0.00
      4d.   Homeowner’s association or condominium dues                                                  4d.   $                                   0.00
5.    Additional mortgage payments for your residence, such as home equity loans                          5.   $                                   0.00




Official Form B 6J                                                  Schedule J: Your Expenses                                                  page 1
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Debtor 1      George Aris Giamalakis
Debtor 2      Debbie Lynn Giamalakis                                                                               Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                          6a. $                                                          330.19
      6b.     Water, sewer, garbage collection                                                        6b. $                                                           80.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                          6c. $                                                          365.00
      6d.     Other. Specify:                                                                         6d. $                                                            0.00
7.    Food and housekeeping supplies                                                                   7. $                                                          600.00
8.    Childcare and children’s education costs                                                         8. $                                                          125.00
9.    Clothing, laundry, and dry cleaning                                                              9. $                                                          175.00
10.   Personal care products and services                                                             10. $                                                           75.00
11.   Medical and dental expenses                                                                     11. $                                                          300.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                    12. $                                                          450.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                              13. $                                                            0.00
14.   Charitable contributions and religious donations                                                14. $                                                            0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                            15a. $                                                            0.00
      15b. Health insurance                                                                          15b. $                                                            0.00
      15c. Vehicle insurance                                                                         15c. $                                                          140.00
      15d. Other insurance. Specify:                                                                 15d. $                                                            0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                        16. $                                                             0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                17a. $                                                             0.00
      17b. Car payments for Vehicle 2                                                                17b. $                                                             0.00
      17c. Other. Specify:                                                                           17c. $                                                             0.00
      17d. Other. Specify:                                                                           17d. $                                                             0.00
18.   Your payments of alimony, maintenance, and support that you did not report as deducted
      from your pay on line 5, Schedule I, Your Income (Official Form 6I).                            18. $                                                             0.00
19.   Other payments you make to support others who do not live with you.                                 $                                                             0.00
      Specify:                                                                                        19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                               20a. $                                                       1,340.73
      20b. Real estate taxes                                                                         20b. $                                                           0.00
      20c. Property, homeowner’s, or renter’s insurance                                              20c. $                                                          83.75
      20d. Maintenance, repair, and upkeep expenses                                                  20d. $                                                         100.00
      20e. Homeowner’s association or condominium dues                                               20e. $                                                           0.00
21.   Other: Specify:        Mortgage: 292 Hickory                                                    21. +$                                                        765.00
      Association: 7239 Mystic Brook                                                                      +$                                                         24.17
      Pet Care                                                                                            +$                                                         75.00
      Auto Repair/Maintenance                                                                             +$                                                         60.00
      Extracurricular Activities for Daughter                                                             +$                                                         80.00
22. Your monthly expenses. Add lines 4 through 21.                                                                        22.      $                           6,668.84
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                                    23a. $                                   5,417.03
    23b. Copy your monthly expenses from line 22 above.                                                                  23b. -$                                  6,668.84

      23c.    Subtract your monthly expenses from your monthly income.
              The result is your monthly net income.                                                                     23c. $                                  -1,251.81

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a modification to the terms of
      your mortgage?
           No.
           Yes. Explain:    $1,500.00 listed on J for Rent is anticipated when the pending foreclosure proceedings end.




Official Form B 6J                                                         Schedule J: Your Expenses                                                                  page 2
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B6 Declaration (Official Form 6 - Declaration). (12/07)
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                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
            George Aris Giamalakis
 In re      Debbie Lynn Giamalakis                                                                         Case No.
                                                                                   Debtor(s)               Chapter    7




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of           50
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date December 11, 2013                                                Signature   /s/ George Aris Giamalakis
                                                                                   George Aris Giamalakis
                                                                                   Debtor


 Date December 11, 2013                                                Signature   /s/ Debbie Lynn Giamalakis
                                                                                   Debbie Lynn Giamalakis
                                                                                   Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/13)



                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
             George Aris Giamalakis
 In re       Debbie Lynn Giamalakis                                                                            Case No.
                                                                                  Debtor(s)                    Chapter        7

                                                       STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $56,046.51                            2013 YTD Gross Income (Debtor)
                                                                Per Pay Advices
                          $36,700.92                            2013 YTD Gross Income (Joint Debtor)
                                                                Per Pay Advices
                          $91,485.00                            2012 Gross Income (Joint)
                                                                Per Tax Returns
                          $80,501.00                            2011 Gross Income (Joint)
                                                                Per Tax Returns




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               2. Income other than from employment or operation of business

      None     State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                         AMOUNT                                 SOURCE
                         $23,430.00                             2013 YTD Gross Rental Income (Joint)

               3. Payments to creditors

      None     Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
               services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
               aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
               payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
               a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
               include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
               not filed.)

 NAME AND ADDRESS                                                       DATES OF                                                        AMOUNT STILL
    OF CREDITOR                                                         PAYMENTS                              AMOUNT PAID                 OWING

      None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                   AMOUNT
                                                                        DATES OF                                    PAID OR
                                                                        PAYMENTS/                                 VALUE OF              AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                           TRANSFERS                                TRANSFERS                OWING

      None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                            DATE OF PAYMENT                       AMOUNT PAID                 OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

      None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                      NATURE OF         COURT OR AGENCY                                   STATUS OR
 AND CASE NUMBER                                                      PROCEEDING        AND LOCATION                                      DISPOSITION
 TCF Bank                                                             Foreclosure       Lake County Circuit Court, Illinois               Pending
 v.
 George Giamalakis et. al.
 Case No.: 2013 CH 2905
 Capital One Bank (USA), N.A.,                                        Civil             Lake County Circuit Court, Illinois               Pending
 v.
 George A. Giamalakis
 Case No.: 2012 SC 6554

  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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 CAPTION OF SUIT                                                          NATURE OF         COURT OR AGENCY                               STATUS OR
 AND CASE NUMBER                                                          PROCEEDING        AND LOCATION                                  DISPOSITION
 Midland Funding LLC                                                                        Cook County Circuit Court                     Dismissed
 v.                                                                                         Richard J. Daley Center
 Debbie Giamalakis                                                                          50 W. Washington, Room 702
 2012 SC 6908                                                                               Chicago, IL 60602
 Capital One                                                              Civil             Lake County Circuit Court, Illinois           Pending
 v.
 Debbie Giamalakis
 Case No.: 2012 SC 6173
 Capital One                                                              Civil             Lake County Circuit Court, Illinois           Pending
 v.
 Debbie Giamalakis
 Case No.: 2012 SC 6178
 Wells Fargo Bank NA                                                      Civil             Osceola County, Florida                       Pending
 v.
 George Giamalakis et. al
 Case No.: 20012 CA 2768 Mg
 Midland Funding LLC                                                      Civil             Lake County Circuit Court, Illinois           Pending
 v.
 George Giamalakis
 Case No.: 2012 SC 6342

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                           DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                           DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                      DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                    FORECLOSURE SALE,         DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                   TRANSFER OR RETURN                  PROPERTY
 Toyota Motor Credit                                                 August 2012                  Vehicle Repossessed
 Toyota Financial Services                                                                        2011 Toyota Sienna
 PO Box 8026
 Cedar Rapids, IA 52408
 PNC Bank N.A *                                                      July 2012                    Vehicle Repossessed
 1 Financial Parkway                                                                              2005 Chevy Aveo
 Kalamazoo, MI 49009

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                   TERMS OF ASSIGNMENT OR SETTLEMENT




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   None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                               NAME AND LOCATION
 NAME AND ADDRESS                                                   OF COURT                     DATE OF            DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                CASE TITLE & NUMBER               ORDER                    PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                         RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                         DEBTOR, IF ANY                  DATE OF GIFT            VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                   LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                            BY INSURANCE, GIVE PARTICULARS                       DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                         DATE OF PAYMENT,                                  AMOUNT OF MONEY
 NAME AND ADDRESS                                                     NAME OF PAYER IF OTHER                           OR DESCRIPTION AND VALUE
     OF PAYEE                                                               THAN DEBTOR                                        OF PROPERTY
 Sulaiman Law Group LTD                                               9/9/2013                                        $4626.00 - Attorney fees
 900 Jorie Blvd                                                                                                       $374.00 - Costs (filing fee,
 Ste 150                                                                                                              credit report, credit counseling
 Oak Brook, IL 60523                                                                                                  classes)
 David M Siegel & Associates                                          December 2012                                   $1,800.00 - Cost for Prior
 19 S. LaSalle, Unit 707                                                                                              Bankruptcy
 Chicago, IL 60603

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                           DATE                             AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                         AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                               DATE(S) OF                VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                      TRANSFER(S)               IN PROPERTY


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               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                        TYPE OF ACCOUNT, LAST FOUR
                                                                        DIGITS OF ACCOUNT NUMBER,                       AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                       AND AMOUNT OF FINAL BALANCE                             OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                          NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                    DESCRIPTION                   DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                     TO BOX OR DEPOSITORY                    OF CONTENTS                    SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                         DATE OF SETOFF                                    AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY                LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                              NAME USED                                         DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME




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               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
               operated by the debtor, including, but not limited to, disposal sites.

               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
               pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                          NAME AND ADDRESS OF                     DATE OF                       ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                       NOTICE                        LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                     DATE OF                       ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                       NOTICE                        LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                   STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                   LAST FOUR DIGITS OF
                                   SOCIAL-SECURITY OR
                                   OTHER INDIVIDUAL
                                   TAXPAYER-I.D. NO.                                                                               BEGINNING AND
 NAME                              (ITIN)/ COMPLETE EIN              ADDRESS                      NATURE OF BUSINESS               ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                  ADDRESS




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    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                               ADDRESS                                                DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                   ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                           DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                  INVENTORY SUPERVISOR                                   (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                              NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                            RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                     NATURE OF INTEREST                               PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                     TITLE                                OF STOCK OWNERSHIP




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               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                          ADDRESS                                                   DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                     TITLE                                    DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                            AMOUNT OF MONEY
 OF RECIPIENT,                                                        DATE AND PURPOSE                                     OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                               OF WITHDRAWAL                                        VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                              TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                              ******

                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date December 11, 2013                                               Signature   /s/ George Aris Giamalakis
                                                                                  George Aris Giamalakis
                                                                                  Debtor


 Date December 11, 2013                                               Signature   /s/ Debbie Lynn Giamalakis
                                                                                  Debbie Lynn Giamalakis
                                                                                  Joint Debtor

                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
            George Aris Giamalakis
 In re      Debbie Lynn Giamalakis                                                                         Case No.
                                                                                   Debtor(s)               Chapter     7


                                 CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                   Describe Property Securing Debt:
 Ashebrook Homeowners Association                                                   7239 Mystic Brook
                                                                                    Davenport, Florida 33896
                                                                                    Single Family Dwelling
                                                                                    Purchased in May 2011 (Purchase Price $164,000.00)
                                                                                    Value Per Comps

 Property will be (check one):
        Surrendered                                                     Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain Retain and Maintain (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                              Not claimed as exempt

 Property No. 2

 Creditor's Name:                                                                   Describe Property Securing Debt:
 Country Place Homeowners Assn.                                                     300 E. Hummingbird Lane
                                                                                    Lindenhurst, Illinois 60046
                                                                                    Single Family Dwelling
                                                                                    Purchased in February 1998 (Purchase Price $192,000.00)
                                                                                    Value Per Zillow.com
                                                                                    PIN#: 06-01-114-007
                                                                                    33% Partial Interest with Mother
                                                                                    Debtors on title ONLY, Mo

 Property will be (check one):
        Surrendered                                                     Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain Retain and Maintain (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                              Not claimed as exempt



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 Property No. 3

 Creditor's Name:                                                                Describe Property Securing Debt:
 TCF Bank                                                                        300 E. Hummingbird Lane
                                                                                 Lindenhurst, Illinois 60046
                                                                                 Single Family Dwelling
                                                                                 Purchased in February 1998 (Purchase Price $192,000.00)
                                                                                 Value Per Zillow.com
                                                                                 PIN#: 06-01-114-007
                                                                                 33% Partial Interest with Mother
                                                                                 Debtors on title ONLY, Mo

 Property will be (check one):
        Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain Retain and Maintain; Subject to Reasonable Workout (for example, avoid lien using 11 U.S.C. §
      522(f)).

 Property is (check one):
        Claimed as Exempt                                                          Not claimed as exempt

 Property No. 4

 Creditor's Name:                                                                Describe Property Securing Debt:
 TCF Mortgage Corporation                                                        292 Hickory Lane,
                                                                                 Antioch, Illinois 60002
                                                                                 Single Family Dwelling
                                                                                 Purchased in May 2007 (Purchase Price $139,000.00)
                                                                                 Value Per Comps
                                                                                 PIN#: 02-05-406-049

 Property will be (check one):
        Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain Retain and Maintain (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                          Not claimed as exempt




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B8 (Form 8) (12/08)                                                                                                                       Page 3
 Property No. 5

 Creditor's Name:                                                                 Describe Property Securing Debt:
 Village of Antioch                                                               292 Hickory Lane,
                                                                                  Antioch, Illinois 60002
                                                                                  Single Family Dwelling
                                                                                  Purchased in May 2007 (Purchase Price $139,000.00)
                                                                                  Value Per Comps
                                                                                  PIN#: 02-05-406-049

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain Tenant will pay water lien (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                            Not claimed as exempt

 Property No. 6

 Creditor's Name:                                                                 Describe Property Securing Debt:
 Wells Fargo Home Mortgage                                                        7239 Mystic Brook
                                                                                  Davenport, Florida 33896
                                                                                  Single Family Dwelling
                                                                                  Purchased in May 2011 (Purchase Price $164,000.00)
                                                                                  Value Per Comps

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain Retain and Maintain (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                            Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                Describe Leased Property:               Lease will be Assumed pursuant to 11
 -NONE-                                                                                                U.S.C. § 365(p)(2):
                                                                                                          YES              NO




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B8 (Form 8) (12/08)                                                                                                           Page 4

I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date December 11, 2013                                               Signature   /s/ George Aris Giamalakis
                                                                                  George Aris Giamalakis
                                                                                  Debtor


 Date December 11, 2013                                               Signature   /s/ Debbie Lynn Giamalakis
                                                                                  Debbie Lynn Giamalakis
                                                                                  Joint Debtor




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                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
             George Aris Giamalakis
 In re       Debbie Lynn Giamalakis                                                                           Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     4,626.00
             Prior to the filing of this statement I have received                                        $                     4,626.00
             Balance Due                                                                                  $                         0.00

2.     $    306.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the Debtors in any dischargeability actions, relief from stay actions, preparation and filing of
               reaffirmation agreements and applications as needed or any other adversary proceeding.
                                                                          CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:      December 11, 2013                                                   /s/ Nathan Volheim
                                                                                 Nathan Volheim
                                                                                 Sulaiman Law Group, Ltd.
                                                                                 900 Jorie Boulevard
                                                                                 Suite 150
                                                                                 Oak Brook, IL 60523
                                                                                 630-575-8181 Fax: 630-575-8188
                                                                                 mbadwan@sulaimanlaw.com




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B 201A (Form 201A) (11/12)



                                                     UNITED STATES BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF ILLINOIS
                                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
            George Aris Giamalakis
 In re      Debbie Lynn Giamalakis                                                                         Case No.
                                                                                  Debtor(s)                Chapter        7

                                    CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                        UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                      Certification of Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 George Aris Giamalakis
 Debbie Lynn Giamalakis                                                            X /s/ George Aris Giamalakis                  December 11, 2013
 Printed Name(s) of Debtor(s)                                                        Signature of Debtor                         Date

 Case No. (if known)                                                               X /s/ Debbie Lynn Giamalakis                  December 11, 2013
                                                                                     Signature of Joint Debtor (if any)          Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
            George Aris Giamalakis
 In re      Debbie Lynn Giamalakis                                                                      Case No.
                                                                                  Debtor(s)             Chapter    7




                                                     VERIFICATION OF CREDITOR MATRIX

                                                                                        Number of Creditors:                               126




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date:     December 11, 2013                                           /s/ George Aris Giamalakis
                                                                       George Aris Giamalakis
                                                                       Signature of Debtor

 Date:     December 11, 2013                                           /s/ Debbie Lynn Giamalakis
                                                                       Debbie Lynn Giamalakis
                                                                       Signature of Debtor




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                      ADT Alarms
                      PO Box 650485
                      Dallas, TX 75265


                      Advanced Dental Arts
                      18931 W. Washington Street
                      Suite 300
                      Grayslake, IL 60030


                      Allergy & Asthma Consultants LTS
                      36100 N. Brookside Drive #203
                      Gurnee, IL 60031


                      Allied Interstate
                      3000 Corporate Exchange Drive
                      5th Floor
                      Columbus, OH 43236


                      American Medical Collection Agency
                      4 Westchester Plaza, Suite 110
                      Elmsford, NY 10523


                      American National Sprinkler & Lighting
                      924 Turret Court
                      Mundelein, IL 60060


                      American Profit Recovery
                      34405 W. 12 Mile Road, Suite 379
                      Farmington, MI 48331


                      Anderson Pest Solutions
                      501 W. Lake Street, Suite 204
                      Elmhurst, IL 60126


                      Anthem Health
                      PO Box 70000
                      Van Nuys, CA 91470


                      Armor Systems Corporation
                      1700 Kiefer Drive, Suite 1
                      Zion, IL 60099


                      Ashebrook Homeowners Association
                      PO Box 105302
                      Atlanta, GA 30348
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                  At & T Mobility
                  P.O. Box 6416
                  Carol Stream, IL 60197


                  AT&T Mobility
                  PO Box 6416
                  Carol Stream, IL 60197-6416


                  AT&T Services, Inc.
                  909 Chestnut Street
                  Saint Louis, MO 63101


                  ATF
                  3550 W. Pratt Avenue
                  Lincolnwood, IL 60712


                  Athletico Ltd
                  625 Enterprise Drive
                  Oak Brook, IL 60523


                  Blatt Hasenmiller F L
                  125 S. Wacker Drive #400
                  Chicago, IL 60606


                  Blatt, Hasenmiller, Leibsker and Moore,
                  125 S. Wacker Drive, Suite400
                  Chicago, IL 60606


                  Blitt & Gaines, P.C.
                  661 W. Glenn Avenue
                  Wheeling, IL 60090


                  Capital One, N.A. *
                  c/o American Infosource
                  P.O Box 54529
                  Oklahoma City, OK 73154


                  Capital One, N.A.*
                  1680 Capital One Drive
                  Mc Lean, VA 22102


                  Cavalry Portfolio Services
                  500 Summit Lake Drive
                  Valhalla, NY 10595
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                  Central Credit Services
                  PO Box 15118
                  Jacksonville, FL 32239


                  Certified Recovery, Inc.
                  PO Box 808
                  Eau Claire, WI 54702


                  Certified Services, Inc.
                  1733 Washington Street Suite 2
                  Waukegan, IL 60085


                  Certified Services, INC.
                  P.O. Box 177
                  Waukegan, IL 60079


                  Chase *
                  ATTN: Bankruptcy Department
                  P.O. Box 15298
                  Wilmington, DE 19850


                  Choice Recovery
                  1550 Old Henderson Road Street
                  Columbus, OH 43220


                  College of Lake County
                  19351 W. Washington St
                  Grayslake, IL 60030


                  Consolidated Pathology Consultants
                  75 Remittance Drive
                  Department 1895
                  Chicago, IL 60675


                  Convergent Outsourcing, Inc
                  800 SW 39th Street
                  PO Box 9004
                  Renton, WA 98057


                  Convergent Outsourcing, Inc.
                  10750 Hammerly Boulevard, #200
                  Houston, TX 77043
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                  Convergent Outsourcing, Inc.
                  PO Box 9004
                  Renton, WA 98057


                  Country Place Homeowners Assn.
                  750 Lake Cook Road
                  # 190
                  Buffalo Grove, IL 60089


                  Credit One Bank
                  585 Pilot Rd
                  Las Vegas, NV 89119


                  Credit One Bank
                  P.O Box 98872
                  Las Vegas, NV 89193


                  Credit One Bank
                  PO Box 740237
                  Atlanta, GA 30374


                  David P. Duryea
                  PO Box 9100
                  Farmingdale, NY 11735


                  David T. Cohen & Associates, Ltd
                  10729 W. 159th Street
                  Orland Park, IL 60467


                  Diambri and Caravello
                  300 Green Bay Road
                  Highwood, IL 60040


                  Direct Merchants Bank
                  17600 N. Perimeter Drive
                  Scottsdale, AZ 85255


                  Echelon Recovery, Inc.
                  P.O. Box 1880
                  Voorhees, NJ 08043


                  Enhanced Recovery Co
                  8014 Bayberry Road
                  Jacksonville, FL 32256
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                  Enhanced Recovery Co
                  Po Box 3002
                  Southeastern, PA 19398


                  EOS CCA
                  700 Longwater Drive
                  Norwell, MA 02061


                  EOS CCA
                  PO Box 439
                  Norwell, MA 02061


                  Equifax Information Services, LLC
                  1550 Peachtree Street NW
                  Atlanta, GA 30309


                  Equinox
                  2720 S. River Road
                  Suite 4
                  Des Plaines, IL 60018


                  Experian Information Solutions, Inc.
                  475 Anton Boulevard
                  Costa Mesa, CA 92626


                  First Federal Credit Control
                  1550 Old Henderson Road
                  Columbus, OH 43220


                  First Federal Credit Control
                  PO Box 20790
                  Columbus, OH 43220


                  First Source Advantage
                  PO Box 628
                  Buffalo, NY 14240


                  First Sources Advantage, LLC
                  205 Bryant Woods South
                  Amherst, NY 14228


                  Freedman Anselmo Lindberg LLC
                  1807 W. Diehl Road, Suite 333
                  Naperville, IL 60563
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                  Freedman Anselmo Lindberg LLC
                  Po Box 3228
                  Naperville, IL 60566


                  Global Medical Imaging S.C.
                  25 Tower Court # A
                  Gurnee, IL 60031


                  Global Medical Services
                  25 Tower Court # A
                  Gurnee, IL 60031


                  HSBC
                  One HSBC Center
                  Buffalo, NY 14203


                  HSBC
                  PO Box 17332
                  Baltimore, MD 21297


                  HSBC
                  Po Box 5213
                  Carol Stream, IL 60197


                  HSBC
                  Attn: CLM FAP
                  2929 Walden Avenue
                  Depew, NY 14043


                  IL Bone and Joint Institute
                  5057 Paysphere Circle
                  Chicago, IL 60674-0050


                  JC Christensen & Associates, Inc.
                  PO Box 519
                  Sauk Rapids, MN 56379


                  LabCorp
                  Po Box 2240
                  Burlington, NC 27216-2240


                  Laboratory Corporation of America
                  PO Box 2240
                  Burlington, NC 27216
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                  Law Offices of Diambri and Caravello
                  300 Green Bar Road
                  Highwood, IL 60040


                  LCA Collections
                  Po Box 2240
                  Burlington, NC 27216


                  Lou Harris & Company
                  1040 S. Milwaukee Avenue, Suite 110
                  Wheeling, IL 60090


                  Lou Harris Company
                  613 Academy Drive
                  Northbrook, IL 60062


                  Malcolm S. Gerald and Associates, Inc.
                  332 South Michigan Avenue
                  Suite 600
                  Chicago, IL 60604


                  MCM
                  Dept 12421
                  PO Box 603
                  Oaks, PA 19456


                  MCSI Inc
                  7330 College Drive, Suite 108
                  Palos Heights, IL 60463


                  Medical Eye Services LTD
                  48 S. Greenleaf Avenue
                  Gurnee, IL 60031


                  Metro Center for Health
                  901 McClintock Drive
                  Suite 202
                  Willowbrook, IL 60527


                  Midland Credit Management, Inc.
                  8875 Aero Drive
                  San Diego, CA 92123
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                  Midland Funding
                  8875 Aero Drive, Suite 200
                  San Diego, CA 92123


                  Municipal Collection Services, Inc.
                  7330 College Drive, Suite 108,
                  Palos Heights, IL 60463


                  NCO Financial
                  507 Prudential Road
                  Horsham, PA 19044


                  NCO Financial System
                  507 Prudential Road
                  Horsham, PA 19044


                  NCO Financial Systems, Inc.
                  507 Prudential Road
                  Horsham, PA 19044


                  NCO Financial Systems, Inc.
                  PO NBox 15636
                  Wilmington, DE 19850


                  NCO Financial Systems, Inc.
                  PO Box 15636
                  Wilmington, DE 19850


                  Northshore Center For Gastroenterology
                  1880 W. Winchester Road
                  Libertyville, IL 60048


                  Northwestern Lake Forest Hospital
                  660 North Westmoreland Road
                  Lake Forest, IL 60045


                  Northwestern Medical Faculty Foundation
                  38693 Eagle Way
                  Chicago, IL 60678


                  Orion Anesthesia Associates PC
                  PO Box 991
                  Park Ridge, IL 60068
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                  Peak Therapeutics, Ltd
                  3545 Lake Avenue
                  Wilmette, IL 60091


                  PNC Bank
                  2730 Liberty Avenue
                  Pittsburgh, PA 15222


                  PNC Bank
                  PO Box 5570
                  Cleveland, OH 44101


                  PNC Bank
                  249 5th Avenue, Suite 30
                  Pittsburgh, PA 15222


                  PNC Bank N.A *
                  1 Financial Parkway
                  Kalamazoo, MI 49009


                  Portfolio Recovery Associates
                  Po box 12914
                  Norfolk, VA 23541


                  Portfolio Recovery Associates LLC
                  PO Box 41067
                  Norfolk, VA 23541


                  Portfolio Recovery Associates, Inc
                  120 Corporate Boulevard
                  Norfolk, VA 23502


                  Professional Placement Services
                  272 N. 12th Street
                  PO Box 612
                  Milwaukee, WI 53233


                  Professional Recovery Services
                  PO Box 1880
                  Voorhees, NJ 08043


                  Pulmonary Physicians of the North Shore
                  2151 Waukegan Road, Suite 110
                  Deerfield, IL 60015
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                  Receivables Performance Management
                  1930 220th Street SE
                  Suite 101
                  Bothell, WA 98021


                  Robinson Heating & Cooling
                  2413 Washington Street
                  Waukegan, IL 60085


                  Round Lake Beach Police Department
                  1947 N. Municipal Way
                  Round Lake, IL 60073


                  Scotts Lawn Service Chicago North
                  PO Box 388
                  Marysville, OH 43040


                  SRA Associates
                  401 Minnetonka Road
                  Hi Nella, NJ 08083


                  Stephen J. Clark MD PC
                  3021 Falling Waters Boulevard
                  S-A
                  Lindenhurst, IL 60046


                  Sunrise Credit Services Inc
                  260 Airport Plaza


                  Sunrise Credit Services Inc
                  260 Airport Plaza
                  P.O. Box 9100
                  Farmingdale, NY 11735


                  T-Mobile
                  12920 SE 38th Street
                  Bellevue, WA 98006


                  T-Mobile
                  12929 SE 38th Street
                  Bellevue, WA 98006


                  TCF Bank
                  7801 Marquette Avenue
                  Minneapolis, MN 55402
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                  TCF Bank
                  5667 W. Touhy


                  TCF Banking & Savings
                  801 Marquette Avenue
                  Minneapolis, MN 55402


                  TCF Mortgage Corporation
                  Attn: Legal Dept
                  801 Marquette Ave
                  Minneapolis, MN 55402


                  TCF National Bank
                  800 Burr Ridge Parkway
                  Burr Ridge, IL 60527


                  The Davey Tree Expert Company
                  1500 N. Mantua Street
                  Kent, OH 44240


                  The SC at 900 North Michigan
                  LBX 619752
                  PO Box 6197
                  Chicago, IL 60680


                  Toyota Motor Credit
                  Toyota Financial Services
                  PO Box 8026
                  Cedar Rapids, IA 52408


                  Trans Union LLC
                  1561 E. Orangethorpe Avenue
                  Fullerton, CA 92831


                  Transworld Systems
                  2235 Mercury Way, Ste 275
                  Santa Rosa, CA 95407


                  Transworld Systems
                  Po Box 12103
                  Trenton, NJ 08650


                  Transworld Systems
                  1375 E. Woodfield Road, #110
                  Schaumburg, IL 60173
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                  Transworld Systems Inc.
                  507 Prudential Road
                  Horsham, PA 19044


                  Village of Antioch
                  874 Main Street
                  Antioch, IL 60002


                  Village of Round Lake Beach
                  1937 Municipal Way
                  Round Lake, IL 60073


                  Wells Fargo Bank, N.A.
                  420 Montgomery Street
                  San Francisco, CA 94132


                  Wells Fargo Home Mortgage
                  5620 Brooklyn Boulevard
                  Minneapolis, MN 55429


                  Wells Fargo Home Mortgage
                  8480 Stagecoach Circle
                  Frederick, MD 21701


                  Wells Fargo Home Mortgage
                  Po Box 10335
                  Des Moines, IA 50306
